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15   UNITED STATES OF AMERICA,                   )   CASE NO. 18-CR-00258 EJD
                                                 )
16           Plaintiff,                          )   UNITED STATES’ POST-HEARING BRIEF ON
                                                 )   DEFENDANT’S MOTION FOR NEW TRIAL
17      v.                                       )   BASED ON ALLEGED STATEMENTS
                                                 )   BY DR. ADAM ROSENDORFF (ECF NO. 1574)
18   ELIZABETH HOLMES,                           )
                                                 )
19           Defendant.                          )
                                                 )
20                                               )

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 1                                   INTRODUCTION & BACKGROUND

 2          In August of this year, following guilty verdicts in the trials of Defendants Holmes and Balwani,

 3 government witness Dr. Adam Rosendorff visited Holmes’s residence in an attempt to reconcile with

 4 her. Defendant sought to capitalize on that event by filing a motion for a new trial—a motion based on

 5 defense speculation regarding the significance of statements made by Dr. Rosendorff that day.

 6 Defendant’s motion, however, fails to identify any new evidence actually warranting a new trial.

 7 Prevailing on the motion would have required Defendant to satisfy a five-part test that, according to the

 8 Ninth Circuit, is “difficult to meet.” United States v. Steel, 759 F.2d 706, 713 (9th Cir. 1985).

 9 Specifically, Defendant would have had to show: (1) that the evidence is newly discovered; (2) that the

10 defendant was diligent in seeking the evidence; (3) that the evidence is material to the issues at trial; (4)

11 that the evidence is not cumulative or merely impeaching; and (5) that the evidence indicates the

12 defendant would probably be acquitted in a new trial. United States v. Harrington, 410 F.3d 598, 601

13 (9th Cir. 2005) (citation omitted). As explained in the government’s Opposition, Defendant cannot

14 satisfy any of those factors in connection with Dr. Rosendorff’s alleged post-trial statements. 1

15          On October 17, 2022, the Court held an evidentiary hearing on Defendant’s motion. The

16 purpose of that hearing was narrow: to obtain live testimony from Dr. Rosendorff about (1) whether his

17 trial testimony was accurate and (2) whether he witnessed any misconduct by the government. In

18 requesting the evidentiary hearing, the defense presumably hoped to hear from Dr. Rosendorff that he
19 visited Defendant’s home out of guilt over some falsehood in his testimony or some other unfairness in

20 her trial. Dr. Rosendorff has now testified directly about the motives and meaning behind his post-trial

21 statements, superseding defense speculation on those topics. His testimony at the hearing foreclosed any

22 argument for a new trial based on his post-trial statements.

23          Specifically, Dr. Rosendorff affirmed at the evidentiary hearing that his trial testimony was

24 truthful and not misleading, and he repeatedly denied that the government engaged in misconduct. He

25 confirmed that he does not feel that he did anything wrong or unethical in connection with this case, and

26

27   1
     The government incorporates by reference the arguments and citations in its Opposition, filed on
28 September 21, 2022 at ECF No. 1587.
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 1 stated that his visit to Defendant’s home was not motivated by a feeling that her trial had been unfair.

 2 10/17/22 Transcript at 53. He explained that he reached out to Defendant partly over concern that a

 3 custodial sentence might impact her child. Id. at 10, 17, 27. That sentiment, while understandable, has

 4 no bearing on Defendant’s request for a new trial. Dr. Rosendorff also stated that he had been thinking

 5 about how Defendant was unresponsive to his concerns about wrongdoing at Theranos, and wanted to

 6 talk to her to see whether he could forgive her in the interest of “putting the saga behind [him] and

 7 mov[ing] on with [his] life.” Id.

 8          When it came to his trial testimony, however, Dr. Rosendorff explained that his motive was not

 9 to achieve healing or forgiveness but to recall relevant events to the best of his ability and to be truthful.

10 Id. at 51-52. Thus, to the extent there was any tension between what he said on the stand at trial and

11 what he said to Mr. Evans at Defendant’s house, Dr. Rosendorff told the Court that it should “rely on my

12 sworn testimony.” Id.

13          With the benefit of Dr. Rosendorff’s testimony at the hearing, it is clear that none of the

14 statements he allegedly made to Mr. Evans warrants a new trial. To the extent Dr. Rosendorff said those

15 things at all, he has disclaimed any interpretation that might be viewed as exculpatory of Defendants or

16 inconsistent with his trial testimony. To the contrary, those statements are cumulative of evidence the

17 jury heard and earlier, out-of-court statements the defense knew about before the trial. The statements

18 also are not material and would not lead to an acquittal on retrial because they do not undercut critical
19 testimony or bear on the question of guilt. The Court will recall that Dr. Rosendorff’s testimony was

20 extensively corroborated by documentary evidence. And it is impossible for Defendant to show that Dr.

21 Rosendorff’s post-trial statements would change the outcome of her trial; she was convicted of investor

22 fraud based on substantial evidence independent of Dr. Rosendorff’s testimony but acquitted on the

23 patient-focused charges that tied more closely with his percipient knowledge.

24          Even if Dr. Rosendorff had recanted his trial testimony during his visit to Defendant’s home

25 months ago, his testimony last week would function as a repudiation of that recantation, rendering his

26 statements to Mr. Evans merely impeaching and insufficient to merit a retrial. See Lindsey v. United

27 States, 368 F.2d 633, 635-36 (9th Cir. 1966) (repudiated recantations do not support a motion for new

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 1 trial); United States v. Matta-Ballesteros, 213 F.3d 644, *1 (9th Cir. 2000) (unpublished) (affirming

 2 denial of new trial after district court conducted evidentiary hearing during which witness repudiated

 3 recantation of testimony).

 4          Accordingly, for the reasons discussed in the government’s Opposition and herein, the Court

 5 should deny Defendant’s motion.

 6                                                  ARGUMENT

 7 I.       Dr. Rosendorff Unequivocally Affirmed the Accuracy of His Trial Testimony and the
            Fairness of the Trial from His Perspective.
 8
            Defendant’s new-trial motion is replete with vague allegations of false evidence and misleading
 9
     testimony. The motion assumes that Dr. Rosendorff’s visit to Defendant’s home was prompted by a
10
     desire to correct something inaccurate in the government’s case. Meanwhile, Defendant cites case law
11
     where convictions were overturned when they were found to be based on evidence the prosecution knew
12
     was false. Mot. at 2 (citing Napue v. Illinois, 360 U.S. 264 (1959); Hayes v. Brown, 399 F.3d 972 (9th
13
     Cir. 2005)). In response to Defendant’s motion, Dr. Rosendorff previously submitted a declaration
14
     averring that, at both Defendants’ trials, he “answered every question put to [him] completely,
15
     accurately, and truthfully to the best of [his] ability” and that he “stand[s] by [his] testimony” “in every
16
     respect.” Rosendorff Decl., ECF No. 1587-1 at 2. At Defendant’s urging, the Court scheduled an
17
     evidentiary hearing so that Dr. Rosendorff could “reaffirm” or “part company” with the statements in his
18
     declaration. 10/3/22 Transcript at 33. The Court framed one of the key questions as follows: “He took
19
     an oath to tell the truth, and really what I want to know is did you tell the truth?” Id.
20
            At the hearing last week, the Court, began by asking direct questions on this issue. Dr.
21
     Rosendorff’s straightforward answers to those questions, excerpted below, left no doubt that his trial
22
     testimony was true to the best of his knowledge, belying Defendant’s assumptions:
23

24
      THE COURT’S QUESTIONS                                    DR. ROSENDORFF’S ANSWERS
25
      [W]hen you testified at both of those trials, did        Yes, your honor, at all times I testified truthfully
26    you testify honestly?                                    and honestly to the best of my recollection.
27    [D]id you intentionally give any false testimony?        No, I did not.
28
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 1 10/17/22 Transcript at 8.

 2          On further questioning by defense counsel and the government, Dr. Rosendorff repeatedly

 3 confirmed that his trial testimony was reliable. When asked whether his testimony was complete, he

 4 answered simply, “Yes.” 10/17/22 Transcript at 44. When asked whether he believed his direct

 5 testimony was “misleading in any way,” he responded, “No, it was not misleading.” Id. Dr. Rosendorff

 6 further confirmed that his oath to tell the truth was “always forefront” in his mind during his time on the

 7 stand at trial. Id. at 50. He reiterated that, thinking back on the testimony he provided in both trials, he

 8 “absolutely” stands by that testimony in every respect. Id. He assured the Court that his testimony “can

 9 be relied upon to accurately represent [his] experience with Theranos.” Id.

10          In light of Dr. Rosendorff’s testimony at the hearing, the Court should conclude that he never

11 recanted his trial testimony and there is no new substantive evidence supporting Defendant’s motion for

12 a new trial. Dr. Rosendorff has strongly disavowed any interpretation of his statements that is

13 inconsistent with his trial testimony. Even if Dr. Rosendorff’s alleged statements to Mr. Evans were

14 wrongly viewed as a recantation, he has made it clear that he stands by his trial testimony, rendering

15 Defendant’s new-trial motion baseless. See United States v. Santiago, 837 F.2d 1545, 1550 (11th Cir.

16 1988) (new trial not warranted where witness would offer same version of events at retrial as during

17 original testimony); Lindsey v. United States, 368 F.2d 633, 635-36 (9th Cir. 1966) (new-trial standard

18 not met when witness repudiates recantation).
19 II.      Dr. Rosendorff Repeatedly Denied Witnessing Any Misconduct, Manipulation, or
            Misleading Advocacy from the Government.
20
            Defendant’s motion cites various cases where government misconduct was proven. Mot. at 7-8
21
     (citing United States v. Butler, 567 F.2d 885, 887-91 (9th Cir. 1978); United States v. Vozzella, 124 F.3d
22
     389, 393 (2d Cir. 1997)). In advocating for an evidentiary hearing, defense counsel argued that there
23
     was a “strong inference that there was conduct by the government that Dr. Rosendorff believed to be
24
     misleading.” 10/3/22 Transcript at 7. In the defense’s words, the hearing was necessary to explore
25
     whether the government “elicit[ed] a false narrative” as to the conduct of Theranos “because of how it
26
     presented the evidence.” Id. at 24. The Court stated that the purpose of the hearing would be to explore
27
     whether Dr. Rosendorff was “manipulated by the government” either in preparation or in his trial
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 1 testimony. Id. at 25, 33. At the evidentiary hearing, the defense’s lengthy examination of Dr.

 2 Rosendorff on a variety of topics served only to prove that there was no government misconduct in

 3 connection with his participation in the trial.

 4          When Dr. Rosendorff was on the witness stand last week, the Court asked him a series of

 5 questions addressing the defense’s suggestions of possible government misconduct. Dr. Rosendorff

 6 responded by firmly denying any belief that the government engaged in improper manipulation or

 7 misconduct in connection with his testimony:

 8

 9    THE COURT’S QUESTIONS                                   DR. ROSENDORFF’S ANSWERS

10    Do you feel, sir, in regards to your testimony, that No, sir, I do not feel that way. I did not feel that
      you were manipulated or pressured in any way by way then and I don’t feel that way now. At all
11    the government in regards to your testimony?         times the government encouraged me to tell the
                                                           truth and only the truth.
12

13    Did the government, in regards to your testimony, No, they did not.
      sir, ever threaten you or offer you any inducement
14    for your testimony?

15    Did the government ever tell you how you should         No, they did not.
      testify or how they, the government, wished you
16    to testify?
17
      Did the government ever, after your testimony,          No.
18    offer critique to you about your testimony or
      criticize you in any way regarding any of your
19    testimony?
20    Did the government ever misrepresent something          No, they did not.
      that you said to them?
21

22 10/17/22 Transcript at 8-9.

23          Dr. Rosendorff’s position on this issue remained constant throughout the parties’ questioning.

24 He testified in no uncertain terms, “I don’t believe the government led me or misled me or encouraged

25 me to lie.” 10/17/22 Transcript at 42. When asked whether he believed that there were times when the

26 government was “trying to make things seem worse than they were” at Theranos, he replied, “Not at

27 all.” Id. at 21. A short time later, defense counsel tried again to get Dr. Rosendorff to agree that “you

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 1 do believe that at times the government made things sound worse than they were when you were

 2 testifying,” to which he replied, “No, I don’t believe that at all, no.” Id. at 26. He gave this same

 3 answer a third time when questioned toward the end of the hearing. Id. at 54.

 4          He also offered his view that “[t]he prosecution was trying to paint an accurate picture of

 5 Elizabeth Holmes.” 10/17/22 Transcript at 21. Later in the hearing, defense counsel mischaracterized

 6 his testimony and asked, “Well, the government for the most part was, I believe you said, trying to make

 7 Ms. Holmes look bad; right?” Id. at 24. Dr. Rosendorff answered, “The government was trying to get at

 8 the truth of what happened and what Ms. Holmes did, period.” Id.

 9          Pressed on the specific language of his written declaration, he affirmed that he did not believe

10 the government’s presentation of evidence included “misrepresentations or misimpressions about other

11 aspects of what happened at Theranos,” in terms of Defendants’ conduct or otherwise. Id. at 45-46.

12 When asked whether he agreed that the government used “very selective portions of the exhibits” at

13 trial, he countered, “I don’t believe they were cherry picking or being selective. I thought they were

14 comprehensive.” Id. at 22.

15          Summing up his experience with the prosecution team, Dr. Rosendorff was asked whether he

16 witnessed any conduct by the government in connection with his testimony and the trial overall that he

17 viewed as misleading or improper in any way, to which he responded, “No.” Id. at 51.

18          Because there is no evidence of government misconduct here, Defendant’s reliance on cases like

19 Walgren is misplaced. See United States v. Walgren, 885 F.2d 1417, 1427-28 (9th Cir. 1989) (laying

20 out standard in case of knowing use of perjury). The government did not engage in any improper

21 conduct in connection with Dr. Rosendorff’s testimony or the trial at large. Accordingly, Defendant’s

22 motion is governed by the standard Harrington test. The government’s Opposition explained why

23 Defendant’s motion fails under that standard, and the evidentiary hearing has resolved the two key

24 questions identified by the Court in the government’s favor. That reason alone is sufficient to merit

25 denial of Defendant’s motion.

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 1 III.     Dr. Rosendorff’s Statements Are Cumulative of Trial Testimony and Other Evidence,
            Merely Impeaching, and Immaterial to the Issue of Defendant’s Guilt.
 2
            As discussed more fully in the government’s Opposition, the alleged statements addressed in
 3
     Defendant’s new-trial motion do not meet any of the factors required under Harrington. Several of
 4
     them are cumulative of other evidence, including in ways that show the defense was not diligent in
 5
     pursuing them. ECF No. 1587 at 12. Moreover, those statements by Dr. Rosendorff are, at best, merely
 6
     impeaching as opposed to substantive evidence going to material issues in this case. This is beyond
 7
     dispute after last week’s hearing, during which Dr. Rosendorff expressly disclaimed any interpretation
 8
     of his post-trial statements that would conflict with or alter his trial testimony. The case law is clear that
 9
     such evidence is insufficient to warrant a new trial, even where it would “severely impeach” the
10
     testimony of an important government witness. United States v. Kulczyk, 931 F.2d 542, 549 (9th Cir.
11
     1991); ECF No. 1587 at 14-15. The statements Defendant relies upon are also immaterial and could not
12
     change the outcome at trial—especially considering them in the context of their intended meaning as
13
     described by Dr. Rosendorff while under oath last week. This case resulted in a conviction following
14
     testimony from thirty-two witnesses and the introduction of more than 900 exhibits over the span of
15
     months. Among those exhibits were numerous documents of undisputed authenticity corroborating Dr.
16
     Rosendorff’s testimony and memorializing Defendants’ fraudulent conduct. That body of evidence
17
     would have led to the same result at trial regardless of whether the jury heard the statements at issue
18
     here. ECF No. 1587 at 15-20.
19
            Certain of Dr. Rosendorff’s statements also fail to satisfy the Harrington test for more specific
20
     reasons, as discussed below.
21
            A.      Dr. Rosendorff’s statements regarding his approval of Theranos’s mission and
22                  hardworking employees are cumulative of other evidence.

23          At the evidentiary hearing, Dr. Rosendorff confirmed he told Mr. Evans something to the effect

24 that Theranos employees were working hard to do something good and meaningful. 10/17/22 Transcript

25 at 29. This statement does not meet the requirements for a new trial based on newly discovered

26 evidence because, among other reasons, it is cumulative of trial testimony as well as earlier statements

27 by Dr. Rosendorff.

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 1          First, as discussed in the government’s Opposition, that statement is cumulative of equivalent

 2 testimony elicited from Dr. Rosendorff and other witnesses at trial. ECF No. 1587 at 12-14. Even the

 3 government’s opening statement disclosed similar facts about Theranos, including that Theranos was “a

 4 real company” and not “just a shell.” 9/8/21 Transcript at 553. Government counsel also made a point

 5 during opening of explaining that the company “had many scientists and many professionals who

 6 believed in some of the lofty concepts and aspirations that the Defendant articulated.” Id. Because Dr.

 7 Rosendorff’s statement is cumulative of the testimony and argument above, it automatically fails the

 8 Harrington test and there is no reason to believe that its introduction at a retrial would result in an

 9 acquittal.

10          Moreover, this evidence was not new even at the beginning of Defendant’s trial. In a 2018

11 deposition, Dr. Rosendorff described the work of Theranos’s R&D group, emphasizing its size, the

12 number of Ph.Ds, and the fact that they were developing Theranos proprietary assays. See Exhibit 1 to

13 Declaration of John Bostic (Colman Depo. Tr.) at 214:15-216:7. Dr. Rosendorff testified that the CLIA

14 group included approximately twelve people, with varying levels of degrees, as well as groups devoted

15 to manufacturing and R&D that generated “multiple patents.” Id. at 213:23-214:11, 216:12-217:25. Dr.

16 Rosendorff praised Theranos’s R&D group as “intelligent” and “very well qualified.” Id. at 216:8-11.

17          In a 2019 deposition, Dr. Rosendorff expressed similar sentiments about the hard work of

18 Theranos scientists. Dr. Rosendorff testified that he sometimes worked after hours. Bostic Decl. Exh. 2
19 (Arizona Theranos Litig. Depo. Tr.) at 184:18-19. He also testified that he regarded the assay

20 development team and numerous scientists and Ph.Ds as capable (id. at 184:25-185:22, 192:3-193:3);

21 that Theranos also was involved in manufacturing reagents, cups, and devices and was a “pretty

22 complicated business” (id. at 186:1-187:9); and that he thought he had a “good team throughout the time

23 period he was there” (id. at 189:11-19).

24          Dr. Rosendorff made similar statements to the government, which were memorialized in

25 memoranda and produced to the defense. In that setting, Dr. Rosendorff observed that the R&D sections

26 were working 24/7 (Bostic Decl. Exh. 3 (8/30/21 Rosendorff Interview Memo)); that he believed

27 Theranos would be the “next great thing” (Bostic Decl. Exh. 4 (7/22/16 Rosendorff Interview Memo));

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 1 that the company had qualified technical and general supervisors (Bostic Decl. Exh. 5 (6/7/17

 2 Rosendorff Interview Memo)); and that Theranos employees “worked to complete SOP’s and assay

 3 validation” (id.).

 4          Thus, Dr. Rosendorff’s statement to Mr. Evans is cumulative. If Defendant disagrees, then she

 5 was not diligent in seeking this testimony at trial, given that Dr. Rosendorff’s views on this subject were

 6 documented and provided to the defense well before trial.

 7          B.      Dr. Rosendorff clarified that certain of his statements did not even apply to
                    Defendants Holmes and Balwani.
 8
            During the evidentiary hearing, Dr. Rosendorff clarified that his statements to Mr. Evans were
 9
     not exculpatory of either Defendant in this case. To the extent Dr. Rosendorff expressed appreciation or
10
     sympathy for his coworkers at Theranos, he testified that he did not intend to include Defendants in
11
     those expressions. Specifically, as to Dr. Rosendorff’s statement that everyone at the company was
12
     working hard to do something good and meaningful, he emphasized at the hearing that he “wasn’t
13
     referencing Elizabeth or Sunny in that statement.” 10/17/22 Transcript at 29. Similarly, Dr. Rosendorff
14
     had “sympathy for the rank and file employees at Theranos whose careers and lives have been so
15
     severely impacted by the scandal,” but that sympathy stopped short of Holmes and Balwani themselves.
16
     Id. at 17. Because those statements expressly exclude Defendants, they are not material under
17
     Harrington and could not lead to an acquittal were the case to be retried.
18
            C.      The content of Dr. Rosendorff’s trial cross-examination does not provide a basis for
19                  a new trial.

20          For similar reasons, the Court should reject Defendant’s argument that clarifications or

21 concessions elicited from Dr. Rosendorff during cross-examination are proof of government misconduct

22 during his direct. As discussed above, Dr. Rosendorff has firmly disavowed any belief that the

23 government used him to introduce false testimony or a misleading narrative. At last week’s hearing,

24 when the defense questioned Dr. Rosendorff about his cross-examination at trial, he disagreed with any

25 suggestion that he had reversed himself on the stand, instead describing that additional testimony as

26 clarifying. 10/17/22 Transcript at 23-24, 42-43.

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 1          As an initial matter, there is no way Dr. Rosendorff’s testimony during cross-examination at trial

 2 could, on its own, support Defendant’s motion for a new trial. Under Federal Rule of Criminal

 3 Procedure Rule 33(b), new-trial motions must be filed within fourteen days of a guilty verdict unless

 4 they are based on “newly discovered evidence.” Fed. R. Crim. P. 33(b) (emphasis added). And the

 5 Ninth Circuit has made the existence of newly discovered evidence the very first factor of the applicable

 6 five-factor test governing these motions, underscoring this requirement. United States v. Harrington,

 7 410 F.3d 598, 601 (9th Cir. 2005). A witness’s trial testimony—observed in real time by the defendant

 8 and her counsel—is not newly discovered evidence and cannot form the basis of a new-trial motion filed

 9 months after the fact. See United States v. Hinkson, 585 F.3d 1247, 1257–58, 1264-65 (9th Cir. 2009)

10 (en banc). In this case, Defendant sought an evidentiary hearing in the hope that Dr. Rosendorff would

11 say something that would cast doubt on the reliability of his trial testimony. Dr. Rosendorff made no

12 such statement, and a new-trial motion is not the vehicle to relitigate issues covered exhaustively at trial.

13          By definition, Dr. Rosendorff’s testimony on cross-examination is cumulative of the trial

14 evidence; indeed, it is trial evidence. Under Harrington, cumulative evidence does not warrant a new

15 trial. See Harrington, 410 F.3d at 601 (requiring the defendant to show that new evidence underlying a

16 new-trial motion is not cumulative or merely impeaching). This is especially true in cases where the

17 relevant witness was cross-examined extensively. United States v. Glantz, 884 F.2d 1483, 1486 (1st Cir.

18 1989). This Court noted this issue before the evidentiary hearing, pointing out that the defense had
19 “already had a fulsome opportunity to examine him” and “explore this” during his several days on the

20 stand. 10/3/22 Transcript at 8.

21          More generally, the Court should reject the implication that any points scored by the defense on

22 cross-examination necessarily suggest misconduct by the prosecution. The Supreme Court recognizes

23 that “the principal purpose of cross-examination” is “to challenge whether the declarant was sincerely

24 telling what he believed to be the truth, whether the declarant accurately perceived and remembered the

25 matter he related, and whether the declarant's intended meaning is adequately conveyed by the language

26 he employed.” Ohio v. Roberts, 448 U.S. 56, 71, (1980), abrogated on other grounds by Crawford v.

27 Washington, 541 U.S. 36 (2004). When questions during cross-examination prompt a witness to

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 1 supplement, clarify, or correct answers he gave on direct, that is nothing more than the adversarial trial

 2 process playing out as intended. If the cross-examination of Dr. Rosendorff was as effective as the

 3 defense claims, then it was beneficial to the jury’s assessment both of his credibility and of Defendants’

 4 conduct. That should increase confidence in the fairness of the trial, not undermine it.

 5 IV.        There Is No Evidence That Other Issues Negatively Impacted the Reliability of Dr.
              Rosendorff’s Testimony at Trial or at the Hearing.
 6
              The defense’s examination of Dr. Rosendorff raised issues beyond the scope of Defendant’s
 7
     new-trial motion. As a procedural matter, Defendant should be barred from relying on arguments not
 8
     raised in her opening brief. The Court also should disregard those late-raised, collateral issues because
 9
     they are irrelevant to the question of whether a retrial is required based on new evidence, as discussed
10
     below.
11
              Although the pending motion does not reference or rely on any evidence regarding Dr.
12
     Rosendorff’s mental health, defense counsel went down a tangential path during last week’s hearing
13
     focusing on that topic, citing an article in a South African newspaper, apparently from September 2022.
14
     Faced with vague questions about a reported “breakdown,” Dr. Rosendorff first testified that he was not
15
     sure what counsel was referring to, then stated that he recalls speaking to that publication about “the
16
     difficulties of being a whistleblower.” 10/17/22 Transcript at 18. He did not testify that he told that
17
     publication he had a “breakdown,” or that he had needed medication and hospitalization—much less
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     confirm that those statements in the article were actually true. Id. at 18-19. Dr. Rosendorff did state that
19
     he was not struggling emotionally on the day he visited Defendant’s home, and that he was not taking
20
     any medication at the time that might have affected his memory or perception of events. Id. at 11, 19-
21
     20. More importantly, Dr. Rosendorff testified that he does not believe that any health issues
22
     “influenced the truthfulness of [his] interactions with the government” in this case. Id. at 57.
23
              The record contains no indication whatsoever that Dr. Rosendorff suffered from a mental health
24
     issue that affected his ability to serve as a reliable witness in connection with this trial. Newly raised
25
     and uncorroborated insinuations about Dr. Rosendorff’s mental health do not justify discounting his
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     testimony or granting a new trial. 2
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28   2
         In response to defense counsel’s questions about whether Dr. Rosendorff disclosed his health issues to
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 1          Nor should the Court ascribe significance to Dr. Rosendorff’s statement that he does not want a

 2 new trial or his recognition that there could be “some legal risk” in connection with some of his

 3 statements “depending on how they came out.” 10/17/22 Transcript at 33, 55. First, it is unclear what

 4 Dr. Rosendorff was admitting in response to these vague questions from the defense. More important,

 5 Dr. Rosendorff expressly confirmed that he was testifying truthfully at the hearing and that the positions

 6 he was taking were not motivated by a desire to avoid some kind of legal risk. Id. at 53.

 7          Should Defendant question the truthfulness of Dr. Rosendorff’s hearing testimony on this basis,

 8 her argument would be contrary to the law as well as the facts. As discussed in the government’s

 9 Opposition (ECF No. 1587 at 16), courts view post-trial recantations with skepticism. United States v.

10 Matta-Ballesteros, 213 F.3d 644, *1 (9th Cir. 2000) (unpublished); United States v. Connolly, 504 F.3d

11 206 (1st Cir. 2007). Where a witness later repudiates a recantation, that is generally sufficient to defeat

12 any new-trial motion based on the earlier recantation. See Lindsey v. United States, 368 F.2d 633, 635-

13 36 (9th Cir. 1966) (affirming denial of new-trial motion in case involving multiple recantations); Matta-

14 Ballesteros, 213 F.3d 644, *1 (observing that a witness’s repudiations of his recantation, “by

15 themselves, probably doom [the defendant’s] claim of newly discovered evidence.”). In every case

16 involving a repudiated recantation, the argument could be made that the witness is only withdrawing

17 their recantation to prevent accusations of perjury or avoid the hassle of testifying again. The

18 government is aware of no instance where a court has indulged that kind of speculation to grant a new
19 trial. To the contrary, the default approach by courts ruling on new-trial motions is to direct their

20 suspicion toward the recantations themselves, not the repudiations—the opposite of what the defense

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22
     the government, we note the following. The government was generally aware that Dr. Rosendorff had
23   suffered from health issues in 2016 that prompted a leave of absence from his role at uBiome, but the
     government was unaware of the nature of those health issues, their cause, or any connection to Dr.
24   Rosendorff’s status as a Theranos whistleblower. In advance of Dr. Rosendorff’s testimony at trial, the
     government disclosed to the defense documents showing that Dr. Rosendorff suffered from health issues
25   in 2016 that prompted a leave of absence from his role at uBiome. Among the documents produced to
     the defense was a government memorandum documenting an interview in the government’s separate
26   investigation of uBiome. During that interview, Dr. Rosendorff was shown and commented on uBiome
     emails from June and July of 2016 in which he informed his employers that he had taken sick leave due
27   to illness and was out of town with his family regaining his health. Neither the contemporaneous
     documents nor the content of that interview revealed any mental health issue or any connection to
28   Theranos or this case.
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 1 would be asking the Court to do here. Of course, in this case, it is clear that Dr. Rosendorff never

 2 actually recanted his trial testimony. But even if he had, his declaration and testimony at the evidentiary

 3 hearing still would be dispositive under the above case law.

 4                                               CONCLUSION

 5          Defendant cannot come close to meeting her burden under Rule 33 to show why a new trial is

 6 warranted. Accordingly, the Court should deny her motion in its entirety.

 7

 8 DATED: October 24, 2022                                        Respectfully submitted,

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                                                                  United States Attorney
10

11                                                                __/s/ John C. Bostic_____________
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